




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS







EX PARTE:  FELIPE GONZALEZ




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No. 08-07-00096-CR



Appeal from


 384th District Court


of El Paso County, Texas


(TC # 20040D04256-384-1)




MEMORANDUM  OPINION



	Pending before the Court is Appellant's motion to dismiss this appeal pursuant to
Tex.R.App.P. 42.2(a).  As required by that rule, the withdrawal of the notice of appeal is signed by
Appellant.  Further, the Clerk of this Court has forwarded a duplicate copy of the written withdrawal
to the clerk of the trial court.  Because Appellant has established compliance with the requirements
of Rule 42.2(a), we grant the motion and dismiss the appeal.



October 11, 2007					                                                                      
  

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Carr, JJ.


(Do Not Publish)


